                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )            1:09-cr-181
                                                )            COLLIER/CARTER
DONNA SHROPSHIRE                                )

                            REPORT AND RECOMMENDATION

                                         I. Introduction

        Defendant’s Motion to Suppress Statement (Doc. 594) is pending before the undersigned

Magistrate Judge having been referred by the District Court for a Report and Recommendation

pursuant to 28 U.S.C. § 636(b)(1)(B). Defendant moves to suppress statements she made to

police following the execution of a search warrant at the residence of Glenn Skiles at 1505

Hotwater Road, Soddy Daisy, Tennessee on September 15, 2009. Because I conclude adequate

Miranda warnings were given and the statements of the defendant were voluntary, I

RECOMMEND the motion to suppress be DENIED.

                                        II. Relevant Facts

        The undersigned held an evidentiary hearing on Defendant’s motion to suppress on

March 2, 2011. The government presented two witnesses: Mark Delaney, special agent for the

Tennessee Bureau of Investigation and Danny Jones, a Chattanooga, Tennessee Police Officer,

who at the time of the search was assigned to the DEA task force. Based on their testimony, I

make the following findings: Mark Delaney has been an agent with the TBI for ten years and

during that time has interviewed numerous defendants and has given Miranda warnings hundreds




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of times. Danny Jones has been with the Chattanooga Police Department for 8 ½ years but was

assigned to the DEA Task Force slightly more than a month before the search in this case.

       Agent Allman was the case agent for the investigation leading to the defendant’s arrest.

He also prepared the search warrant affidavit for the premises to be searched at 246 County Road

467, Englewood, Tennessee.

       On September 15, 2009, agents executed a search warrant at the residence of Glenn

Skiles at 1505 Hotwater Road in Soddy Daisy, Tennessee. Skiles and the defendant Shropshire

were located in an upstairs bedroom of the home. Skiles was questioned by agents while the

defendant was handcuffed and taken to the front porch. After the search was concluded, which

took most of the morning, the defendant’s handcuffs were removed. At approximately 12:40 pm,

Agent Mark Delaney advised defendant of her rights in the presence of Officer Danny Jones. He

did not read the rights from a prepared card but did so from memory. Agent Delaney testified he

orally advised the defendant of the following:

       You have the right to remain silent. Anything you say can and will be used
       against you in a court of law. You have the right to an attorney. If you cannot
       afford an attorney, one will be provided for you. You have the right to answer
       questions and stop answering questions at any time. Do you understand your
       rights?

       After reading defendant these rights, Agent Delaney asked if she understood the rights

and she nodded that she did. Agent Delaney testified there were no guns drawn while the

defendant was questioned, the interview was calm and polite and no one threatened her in any

way. In particular, Agent Delaney testified that no one threatened her with jail if she did not

answer and no one raised their voice or hollered at the defendant. The total time of the interview

was approximately 15 minutes. Officer Danny Jones confirmed that he was present when Agent


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Delaney read the Miranda rights to the defendant, that no guns were drawn, there was no yelling,

no threats and he confirmed that the defendant indicated she understood her rights. He could not

remember the exact words used. Both officers testified that the defendant seemed to understand,

responded appropriately to all questions and at no time did the defendant seem confused and

further at no time did she ask that the questioning stop.

                                            III. Analysis

       Defendant’s Statements to Agent Delaney and Officer Jones

       Defendant argues the statements she gave to Delaney and Jones on September 15, 2009

must be suppressed because she did not knowingly and intelligently waive her Fifth Amendment

rights and because those statements were not voluntary. In support of this argument, defendant

contends at the time she gave her statements she was repeatedly questioned and was threatened

with going to jail immediately unless she provides a statement. However, I note there is no

evidence whatsoever to support this contention.

       She also argues the Miranda warnings, if given, were not written, were not complete, and

that the defendant has a limited education and therefore has great difficulty in understanding

complex words and some words that are not complex. She also argues the statements were not

voluntary (Defendant’s Motion, Doc. 594 at pp 1-3). The government agrees that at the time

statements were given, the defendant was in custody. Statements made by a suspect while in

custody must be preceded by Miranda warnings in order for those statements to be admissible.

United States v. Crowder, 62 F.3d 782, 785 (6th Cir. 1995). The question here is whether the

warnings as given comply with Miranda. This case is a perfect example of why it is a better

procedure for police officers to read Miranda rights from a preprinted card. Here the defendant


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argues she was not specifically told she had a right to an attorney before questioning began or to

have an attorney present during questioning (Doc. 1041, Defendant’s Memorandum in Support

of Motion to Suppress, page 3). In support of this position, defendant points to United States v.

Tillman, 963 F. 2d 137 (1992). The Tillman court referred to a prior opinion of the United States

Supreme Court, Duckworth v. Eagan, 492 U.S. 195 (1988). In Duckworth, the Court of Appeals

had reversed the trial court and found advice that counsel will be appointed “if and when you go

to court” was constitutionally defective because it denied the indigent accused a clear and

unequivocal warning of the right to appoint counsel before interrogation and linked that right to a

future event. The Supreme Court in Duckworth recognized Miranda warnings need not be given

in the exact form described in Miranda but simply must reasonably convey to a suspect his

rights. The initial warnings given to Duckworth were he had a right to remain silent, anything he

said could be used against him in court, he had the right to speak to an attorney before and during

questioning even if he could not afford to hire one, he had the right to stop answering questions

at any time until he talked to a lawyer, and the police could not provide him with a lawyer but

one would be appointed “if and when you go to court.” The view of the majority in Duckworth

was that this touched all of the bases required by Miranda. (Id. at 195). In Tillman, the Court

faced a much more troublesome issue because defendant was never told any statements he made

could be used against him. The court noted that of all the elements provided for in Miranda, this

element was perhaps the most critical. The court reiterated there was no mandate that “magic

words” be used but there is a requirement that all elements of Miranda be conveyed. They held

it was not so conveyed in the absence of the warning his statements could be used against him.




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When one looks at the Miranda holding itself, one can see that the Court there uses somewhat

different language. The Court in Miranda holds:

       “Accordingly we hold that an individual held for interrogation must be clearly
       informed that he has the right to consult with a lawyer and to have the lawyer with
       him during interrogation under the system of protecting the privilege we delineate
       today. As with the warnings of the right to remain silent and that anything stated
       can be used in evidence against him, this warning is an absolute prerequisite to
       interrogation”

Miranda v. Arizona, 384 U.S. 436, 471 (1966).

       However, later in the opinion the Court notes:

       “To summarize, we hold that when an individual is taken into custody or
       otherwise deprived of his freedom by the authorities in any significant way and is
       subjected to questioning, the privilege against self-incrimination is jeopardised.
       Procedural safeguards must be employed to protect the privilege and unless other
       fully effective means are adopted to notify the person of his right of silence and to
       assure that the exercise of the right will be scrupulously honored, the following
       measures are required. He must be warned prior to any questioning that he has
       the right to remain silent, that anything he says can be used against him in a court
       of law, that he has the right to the presence of an attorney, and that if he cannot
       afford an attorney one will be appointed for him prior to any questioning if he so
       desires.”

Miranda, at 478, 479.

       The Miranda warning in this case does not match entirely the specific words in the

decision. However, I conclude all of the rights were spelled out. The one missing element is the

failure to specifically say there was a right to have an attorney before, during, and after the

questioning. However, the advice given did not limit the right to an attorney in any way. Here

there is no reference whatsoever to restricting the right to the attorney to the future, when she is

in court. I conclude it is a reasonable construction to say when one is advised of the right to have

an attorney, immediately following the warning you have a right to remain silent and anything



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you say can and will be used against you in a court of law, means you have the right to that

attorney then. Unlike other cases where the warnings were found inadequate, there is no

reference to the attorney right being one held only in the future.

       Voluntariness of the Statements

       I will next address the voluntariness of the statements. A defendant’s waiver of his

Miranda rights must be voluntary, knowing, and intelligent. See Moran v. Burbine, 475 U.S.

412, 421 (1986); United States v. Miggins, 302 F.3d 384, 397 (6th Cir. 2002). A determination of

the voluntariness of a defendant’s confession is viewed under the totality of the circumstances.

Schneckloth v. Bustamonte, 412 U.S. 218, 226 (1973); United States v. Canipe, 569 F.3d 597,

602 (6th Cir. 2009). The government bears the burden of proof to show by a preponderance of

the evidence through clear and positive testimony that a defendant voluntarily waived his

Miranda rights. Canipe, 569 F.3d at 602 (citing United v. Worley, 193 F.3d 380, 385 (6th Cir.

1999)); see also Colorado v. Connelly, 479 U.S. 157, 168 (1986).

       The inquiry as to whether there was a valid waiver has two dimensions. First, the

relinquishment of the right must have been voluntary in the sense that it was the product of a free

and deliberate choice rather than intimidation, coercion, or deception. Second, the waiver must

have been made with a full awareness of both the nature of the right being abandoned and the

consequences of the decision to abandon it. See Moran v. Burbine, 475 U.S. 412, 421 (1986);

Crowder, 62 F.3d at 787.

       In determining whether a confession has been elicited by means that are unconstitutional,

this Court must consider “whether a defendant’s will was overborne in a particular case.”

Ledbetter v. Edwards, 35 F.3d 1062, 1067 (6th Cir.1994). Factors to consider in assessing the


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totality of the circumstances include the age, education, and intelligence of the accused; whether

the accused has been informed of his constitutional rights; the length of the questioning; the

repeated and prolonged nature of the questioning; and the use of physical punishment, such as

the deprivation of food or sleep. Id.

       In this case the only testimony comes from the two officers. I found their testimony to be

credible. Although there was not a written form from which the Miranda rights were read, I

conclude from Agent Delaney’s testimony that the defendant was read her Miranda rights. Both

Agent Delaney and Officer Jones were clear in their recollection that defendant acknowledged

she understood her rights. At the time of the interview, guns were not drawn, voices were not

raised, threats were not made. The interview was described by Agent Delaney as calm and polite

and Shropshire appeared to be able to respond to all of Agent Delaney’s questions. At no time

did she attempt to withdraw her consent to be questioned and at no time did she appear confused.

The defendant reported in her pretrial report that she dropped out of school in the 9th grade , did

not have a GED, but she reported no difficulties with reading or writing. She reported working

several jobs and had some limited experience with law enforcement, having gone through a

guilty plea resulting in a sentence of conditional diversion which was deferred to probation.

        I conclude the government has shown by a preponderance of the evidence through clear

and positive testimony that the defendant voluntarily and intelligently waived her Miranda rights.

There was no intimidation, coercion, or deception. In assessing the totality of the circumstances

we look to the age, education, and intelligence of the accused; whether the accused has been

informed of her constitutional rights; the length of the questioning; the repeated and prolonged

nature of the questioning; and the use of physical punishment, such as the deprivation of food or


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sleep. Here the defendant arguably has a limited education but she appeared to understand the

warnings given orally by Agent Delaney. She was informed of her right to remain silent, the

questioning lasted about 15 minutes, which is certainly not prolonged, and the questioning was

calm and polite and in no way threatening; there was no physical punishment or deprivation of

food or sleep. In short, I see no police conduct to cause me to question the voluntariness of the

waiver and the police did nothing to indicate the defendant’s will was overborne in this case.

                                          IV. Conclusion

       I find the defendant voluntarily and intelligently waived her Miranda rights before law

enforcement began questioning her and that the statements she made were voluntary.

Consequently, I RECOMMEND the defendant’s Motion to Suppress Statements (Doc. 594) be

DENIED.1




                                               s/William B. Mitchell Carter
                                               UNITED STATES MAGISTRATE JUDGE




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         Any objections to this Report and Recommendation must be served and filed within
fourteen (14) days after service of a copy of this recommended disposition on the objecting party.
Such objections must conform to the requirements of Rule 59(b)(2) of the Federal Rules of
Criminal Procedure. Failure to file objections within the time specified waives the right to appeal
the District Court’s order. Thomas v. Arn, 474 U.S. 140, 88 L.Ed.2d 435, 106 S. Ct. 466 (1985).
The district court need not provide de novo review where objections to this report and
recommendation are frivolous, conclusive or general. Mira v. Marshall, 806 F.2d 636 (6 th Cir.
1986). Only specific objections are reserved for appellate review. Smith v. Detroit Federation of
Teachers, 829 F.2d 1370 (6th Cir. 1987).

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